                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                     v.                                  Magistrate’s No. 22-1108

 ADAM BIES

                             MOTION TO UNSEAL COMPLAINT,
                            ARREST WARRANT AND AFFIDAVIT


               AND NOW, comes the United States of America, by its attorneys, Cindy K. Chung,

United States Attorney for the Western District of Pennsylvania, and Jeffrey R. Bengel, Assistant

United States Attorney for said district, and sets forth the following:

               On August 12, 2022, a Complaint was filed and an Arrest Warrant was issued in

the above-captioned case.

               The Complaint, Arrest Warrant and Affidavit were then ordered sealed pending

arrest of the above-captioned individual.

               WHEREFORE, this Honorable Court is respectfully requested to unseal the said

Complaint, Arrest Warrant and Affidavit due to the fact that the Arrest Warrant has been executed,

and there is no further need for the Complaint, Arrest Warrant and Affidavit to remain sealed.

                                                  Respectfully submitted,

                                                  CINDY K. CHUNG
                                                  United States Attorney


                                                   /s/Jeffrey R. Bengel
                                            By:   JEFFREY R. BENGEL
                                                  Assistant U.S. Attorney
                                                  PA ID No. 1018621
